                                                                              FILED  06/01/2020
           Case 9:20-cv-00082-DWM Document 8-2 Filed 06/12/20 Page 1 of 4           Shirley Faust
                                                                                       CLERK
                                                                            Missoula County District Court
                                                                               STATE OF MONTANA

Quentin M. Rhoades                                                           By: Laura
                                                                                 __________________
                                                                                        Driscoll
                                                                             DV-32-2020-0000604-OC
State Bar No. 3969                                                            Deschamps, Robert L III

Robert Erickson                                                                         2.00

State Bar No. 9966
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Pro Querente

       IN THE FOURTH JUDICIAL DISTRICT COURT OF MONTANA
                       MISSOULA COUNTY
 STEVE NELSON, MICHAEL
 BOEHME, and BONNER                         Cause No. DV-32-2020-604-OC
 PROPERTY DEVELOPMENT, LLC,
                                            Dept. No. 1
                Plaintiff,
                                               PLAINTIFFS’ MOTION FOR
       vs.                                    TEMPORARY RESTRAINING
                                             ORDER AND ORDER TO SHOW
 PROJECT SPOKANE, LLC, and                    CAUSE WHY A PRELIMINARY
 SEAN WALSH,                                 INJUNCTION SHOULD NOT BE
                                                      ENTERED
                Defendants.

      1.      Plaintiffs, Steve Nelson, Michael Boehme, and Bonner Property

Development, LLC, request that the Court enter a temporary restraining order

(TRO) enjoining the sale of millions of dollars of assets unilaterally scheduled

by Defendants for Wednesday, June 3, 2020, at 10:00 a.m. Montana time,

and to set a hearing on whether a preliminary injunction should be entered

against sale of the assets pending entry of a final judgment in this case.
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      2.      The motion is supported by separate fillings including (a) a

principal brief; (b) the Declaration of Steven Nelson (with exhibits); (c) a

notice of compliance with Mont. U. D. C. R. 3 regarding ex parte matters; and

(d) a proposed order.

      DATED this 1st day of June 2020.

                                Respectfully Submitted,
                                RHOADES SIEFERT & ERICKSON PLLC



                                By: /s/Quentin M. Rhoades
                                     Quentin M. Rhoades
                                     Robert Erickson
                                     Pro Querente




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                          CERTIFICATE OF SERVICE

     I hereby certify that on this 1st day of June 2020, I served a true and

correct copy of the foregoing on the following persons by depositing said

copy overnight delivery by FedEx, prepaid, and by email, addressed as

follows:

Peter Ito
Ito Law Group
1550 Larimer Street, Suite 667
Denver, CO 80202
peter@itolawgroup.com


                                   By: /s/ Quentin M. Rhoades
                                           Quentin M. Rhoades




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                              CERTIFICATE OF SERVICE


I, Quentin M. Rhoades, hereby certify that I have served true and accurate copies of the
foregoing Motion - Motion to the following on 06-01-2020:


Project Spokane, LLC (Defendant)
365-B Clinton Street
Costa Meas 92626
Service Method: Email

Sean Walsh (Defendant)
365-B Clinton Street
Costa Mesa 92626
Service Method: Email




                                               Electronically Signed By: Quentin M. Rhoades
                                                                          Dated: 06-01-2020
